        Case 2:07-cv-04147-FSH-PS Document 22-1 Filed 01/08/08 Page 1 of 1 PageID: 275
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                        UNITED STATES DISTRICT COURT
                                                  District of New Jersey


  BRUCE J. WISHNIA, on behalf of himself and
         all others similarly situated,


                             V.                                       SUMMONS IN A CIVIL ACTION


     D.B.F. COLLECTION CORP., DAVID B.
     FREEMAN (individually), LISA MARINO,
      (individually), STANLEY KATZ, ESQ.,
           JANE DOE, and JOHN DOE.
                                                                         CASE NUMBER: 07-4147 (FSH)




                TO: (Name and address of Defendant)
                        David B. Freeman
                        1383 Sturl Avenue
                        Hewlett, New York 11557


  YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and
   address)

                LAW OFFICES OF JOSEPH K. JONES. LLC
                Joseph K. Jones, Esq.
                375 Passaic Avenue, Suite 100
                Fairfield, New Jersey 07004




an answer to the complaint which is served on you with this summons, within _________20___________days after
service of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken
against you for the relief demanded in the complaint. Any answer that you serve on the parties to this action must be filed
with the Clerk of this Court within reasonable period of time after service.




______________________________________________                          ______________________________
CLERK                                                            DATE


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(By) DEPUTY CLERK
